        Case 4:09-cr-00166-SWW                Document 90          Filed 02/04/10        Page 1 of 1



                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                       WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                    4:09CR00166-004 SWW

DAVID CASH

                                                   ORDER


        For the reasons stated at the hearing on this date, the Court sua sponte, and without objection by

defendant or the government, finds that defendant should be committed for a psychiatric evaluation to

determine competency to stand trial under 18 U.S.C. § 4241 and to determine existence of insanity at the

time of offense under 18 U.S.C. § 4242.

        Accordingly, Defendant is committed to the custody of the United States Marshal for the Eastern

District of Arkansas to await designation of a Bureau of Prisons facility where the psychiatric or

psychological examination will be performed.

        Defendant has been detained since July 1, 2009. If defendant is found competent, the Court

anticipates he will plead to an offense for which the sentence is relatively short. Therefore, it is possible

that by the time he has an opportunity to plead guilty, defendant already may have served more time than

the sentence imposed. Therefore, the Court requests that defendant’s designation, evaluation, and

report be expedited. The Court directs the United States Attorney to contact the Bureau of Prisons to

encourage its compliance with this request.

        The United States Marshal for the Eastern District of Arkansas is directed to immediately notify

the Court upon receipt of Defendant’s facility designation.

        Based on 18 U.S.C. § 3161(h)(1)(A), this time period is excludable under the Speedy Trial Act.

        IT IS SO ORDERED this 4th day of February, 2010.



                                                            /s/Susan Webber Wright
                                                            UNITED STATES DISTRICT JUDGE
